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TO:

FROM:

DATE:

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DEY LABORATORIES

MEMORANDUM
Sales and Marketing cc: R.F. Mozek
Helen Burnham

Aes :
May 30, 1995 Yo

ALBUTEROL WAC. PRICING

Attached is a copy of a fax sent to all database managers to update their records

with our wholesale acquisition cost (WAC) for albuterol.

As you know, the following states are now using WAC instead of AWP to caiculate

Medicaid reimbursement:

* Alabama

° Colorado

* Florida

. Maryland

. Massachusetts

WAC is not representative of our published wholesale list prices, but like AWP, is

used for calculation of reimbursement. Our updated WAC values are in line with the

Warrick WAC values provided by First Data Bank and should level the playing field tor
Medicaid reimbursement.

HEumt

Please give me a call if you have any questions.

DL-TX-0122497
